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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION

   TIM FOOTE,

         Plaintiff,

   v.                                                    Case No: 6:18-cv-73-Orl-40TBS

   TRANS UNION LLC and CONTINENTAL
   SERVICE GROUP,

         Defendants.


                                          ORDER

         The Unopposed Motion for Extension of Time for Defendant Trans Union LLC to

   File Answer or Otherwise Respond to Plaintiff’s Complaint (Doc. 16), is GRANTED.

   Defendant Trans Union LLC has through April 2, 2018 to respond to Plaintiff’s complaint.

         DONE and ORDERED in Orlando, Florida on March 16, 2018.




   Copies furnished to:

         Counsel of Record
         Unrepresented Parties
